           Case 2:15-cr-00083-RMP                    ECF No. 193      filed 05/09/16   PageID.1596 Page 1 of 1
2 AO 245A (Rev. 12/03) Judgment of Acquittal


                                     UNITED STATES DISTRICT COURT
                         EASTERN                                 DISTRICT OF               WASHINGTON

           UNITED STATES OF AMERICA
                                                                         JUDGMENT OF ACQUITTAL
                              V.

                  JOSEPH L. DAVIS (2),
                                                                         CASE NUMBER: 2:15-CR-83-RMP-2




       The Defendant was found not guilty. IT IS ORDERED that the Defendant is acquitted, discharged,
and any bond exonerated.




Signature
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 Rosanna Malouf Peterson                        District Judge
Name of Judge                                  Title of Judge

5/9/2016
                                   Date
